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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

KYLE ALEXANDER, et al.,                      )
                                             )
               Plaintiffs,                   )
                                             )
v.                                           ) Case No. 14-CV-2159-KHV-JPO
                                             )
BF LABS INC.,                                )
                                             )
               Defendant.                    )

             DEFENDANT BF LABS INC.’S RESPONSES TO PLAINTIFFS’
              FIRST REQUESTS FOR PRODUCTION OF DOCUMENTS
                AND ELECTRONICALLY STORED INFORMATION

       Defendant BF Labs Inc., by and through its counsel of record, submits the following

responses and objections to Plaintiffs’ First Requests for Production of Documents and

Electronically Stored Information (“Requests”) pursuant to Rule 34 of the Federal Rules of Civil

Procedure.

                        RESPONSE TO PRODUCTION REQUESTS

       1.      The declaration of coverage and insurance policy for each and every insurance

agreement, contract, or policy under which Defendant may be indemnified, in whole or in part,

for any judgment which may be entered in favor of the Plaintiffs in the above-styled cause.

       ANSWER:

       BF Labs has already produced Policy No. 596438368 to Plaintiffs. See BFLABS-KA

00000001-31.



       2.      Any and all statements of any person(s) pertaining to matters alleged in the

Complaint, whether written, recorded, transcribed, or otherwise preserved.         If you assert

privilege as to such material, produce such material that you do not claim privilege to and state
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the facts supporting your claimed privilege as to other materials.

       ANSWER:

       BF Labs objects to this Request as vague, overbroad, and unduly burdensome in that it

seeks “[a]ny and all statements of any person(s) pertaining to matters alleged in the Complaint. .

. .”(emphasis added). BF Labs is willing to meet and confer with Plaintiffs to discuss this request

but it is impossible to respond and produce as written.



       3.      All policies, manuals, documents, communications, or guidelines relating or

referring to procedures for publishing, marketing, or selling the Defendant’s lines of

merchandise.

       ANSWER:

       BF Labs objects to this Request because it seeks information that is privileged from

discovery pursuant to the attorney-client privilege and work-product doctrine. Subject to this

objection, in accordance with the ESI protocol, including an agreement on search terms and

custodians, BF Labs will conduct a reasonable search for and produce responsive non-privileged

documents.



       4.      All documents and emails relating or referring to the estimated shipping dates for

Defendant’s lines of merchandise.

       ANSWER:

       In accordance with the ESI protocol, including an agreement on search terms and

custodians, BF Labs will conduct a reasonable search for and produce responsive non-privileged

documents.




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       5.      All versions of Defendant’s terms and conditions relating or referring to selling,

shipping, or providing refunds for Defendant’s lines of merchandise.

       ANSWER:

       In accordance with the ESI protocol, including an agreement on search terms and

custodians, BF Labs will conduct a reasonable search for and produce responsive non-privileged

documents.


       6.      All documents and/or communications between Defendant and any State Attorney

General, the Federal Trade Commission, the United States Government, or the Better Business

Bureau relating or referring to Defendant’s business practices, sales, pre-order sales, and/or

shipping of merchandise.

       ANSWER:

       BF Labs refers Plaintiffs to the docket in Federal Trade Commission v. BF Labs Inc., et

al., Case No. 14-815-BCW (W.D. Mo.). A subpoena is being withheld from production based on

the objection that it is immune from discovery. In accordance with the ESI protocol including an

agreement on search terms and custodians, BF Labs will conduct a reasonable search for and

produce responsive non-privileged documents in its possession between BF Labs and any State

Attorney General and the Better Business Bureau.



       7.      All documents and communications between Defendant and any consumer(s)

relating or referring to Defendant’s sales and shipping of bitcoin mining equipment or services.

       ANSWER:




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       In accordance with the ESI protocol, including an agreement on search terms and

custodians, BF Labs will conduct a reasonable search for and produce responsive non-privileged

documents.


       8.      All documents and communications relating or referring to any consumer(s)

requesting a refund for bitcoin mining equipment or services that had been paid for but had not

been shipped by Defendant.

       ANSWER:

       BF Labs objects to this Request because it seeks information that is privileged from

discovery pursuant to the attorney-client privilege and work-product doctrine. Subject to this

objection, in accordance with the ESI protocol, including an agreement on search terms and

custodians, BF Labs will produce non-privileged documents. See also Exhibit F to Plaintiffs’

Interrogatories.



       9.      All documents and communications relating or referring to product development,

product design, service and change orders, production timelines, and/or shipping timelines for

Defendant’s lines of bitcoin mining equipment or services.

       ANSWER:

       BF Labs objects to this Request insofar as it seeks to obtain information that is privileged

from discovery pursuant to the attorney-client privilege, work-product doctrine, or any other

applicable privileges. Subject to this objection, in accordance with the ESI protocol, including an

agreement on search terms and custodians, BF Labs will conduct a reasonable search for and

produce responsive non-privileged documents.




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       10.     All documents and/or communications relating or referring to any consideration

(including, but not limited to: cash, bitcoins, etc.) received by Defendant from pre-orders from

consumers.

       ANSWER:

       In accordance with the ESI protocol, including an agreement on search terms and

custodians, BF Labs will conduct a reasonable search for and produce responsive non-privileged

documents. See also Exhibits C and D to Plaintiffs’ Interrogatories.



       11.     All documents and/or communications relating or referring to any mining of

bitcoin by Defendant or Defendant’s employees or agents.

       ANSWER:

       BF Labs objects to this Request and will not produce documents to the extent it seeks

information relating to bitcoin mining by BF Labs’ agents or employees that have mined bitcoin

in their individual capacity because any mining done in their individual capacity has nothing to

do with the lawsuit. Subject to the foregoing objection and handled in accordance with the ESI

protocol, including an agreement on search terms and custodians, BF Labs will produce non-

privileged documents relating or referring to mining done by BF Labs.



       12.     All documents and/or communications relating or referring to any other lawsuits

involving Defendant’s sale or marketing of bitcoin mining equipment or services.

       ANSWER:

       BF Labs objects to this Request because it seeks information that is privileged from

discovery pursuant to the attorney-client privilege and work-product doctrine. BF Labs refers




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Plaintiffs to the following lawsuits: Meissner v. BF Labs Inc., No. 13-2617-RDR-KGS (D.

Kan.); Lolli v. BF Labs Inc., No. 13LA-9619 (Johnson County District Court); Mazur v. BF Labs

Inc., No. GV14-7544 (Chesapeake General District Court); Tomaszewski v. BF Labs Inc., No.

14SC-397 (Johnson County District Court); and Federal Trade Commission v. BF Labs Inc., et

al., No. 14-815 (W.D. Mo.). BF Labs is willing to meet and confer with Plaintiffs to further

discuss this Request.


        13.    All documents and/or communications relating or referring to any marketing or

representations concerning estimated shipping dates made by Defendant concerning Defendant’s

lines of bitcoin mining equipment or services.

        ANSWER:

        Plaintiffs have already asked for documents related or referring to shipping dates in

Requests for Production Nos. 4, 7, and 9 and this Request is covered by those previous requests.

BF Labs incorporates by reference its responses and objections to Requests for Production Nos.

4, 7, and 9.


        14.    An electronic copy of the Defendant’s websites including any previous versions.

        ANSWER:

        BF Labs objects to this request as it seeks production of documents that can be obtained

from publicly available sources where the burden of searching for, collecting, or compiling such

documents is substantially the same for Plaintiffs as for BF Labs.


        15.    All manuals, policies, procedures, training materials, documents and/or

communications relating or referring to Defendant’s policies concerning shipping, pre-paid

orders, refunds, and customer service.



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       ANSWER:

       Reading this Request to exclude documents and ESI protected from discovery by the

attorney-client privilege and work-product doctrine and in accordance with the ESI protocol,

including an agreement on search terms and custodians, BF Labs will conduct a reasonable

search for and produce responsive non-privileged documents.


       16.     For each product identified in response to Interrogatory No. 2, all documents

and/or communications relating or referring to specifications of the product, announcements of

said product, availability for order, estimated dates of shipping or availability, date design was

started, date design was finished, date production began, and date product ceased.

       ANSWER:

       Reading this Request to exclude documents and ESI protected from discovery by the

attorney-client privilege and work-product doctrine and in accordance with the ESI protocol,

including an agreement on search terms and custodians, BF Labs will conduct a reasonable

search for and produce responsive non-privileged documents.



       17.     For each product identified in response to Interrogatory No. 2, all documents

and/or communications relating or referring to orders placed and the monetary value of those

orders, how many of the product was shipped, the dates of shipment, and how many refunds

were requested and made for the product.

       ANSWER:

       In accordance with the ESI protocol, including an agreement on search terms and

custodians, BF Labs will conduct a reasonable search for and produce responsive non-privileged




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documents. In addition to doing so, BF Labs refers Plaintiffs to Exhbits A through E of

Plaintiffs’ Interrogatories.


        18.     All documents and communications relating or referring to complaints by

consumers of defective and/or malfunctioning bitcoin mining equipment or services purchased

from Defendant.

        ANSWER:

        In accordance with the ESI protocol, including an agreement on search terms and

custodians, BF Labs will produce non-privileged documents. See also Exhibit F to Plaintiffs’

Interrogatories.



        19.     All communications, payments, and other documents sent to or from Defendant

and any retained expert relating or referring to this action.

        ANSWER:

        No documents exist. BF Labs intends to fully comply with its expert discovery

obligations under Rule 26 of the Federal Rules of Civil Procedure.



        20.     All documents, electronically stored information, and other tangible things listed

by Defendant as set forth in Defendant’s initial disclosures, Section II, Nos. 1-28.

        ANSWER:

        Reading this Request to exclude documents and ESI protected from discovery by the

attorney-client privilege and work-product doctrine and in accordance with the ESI protocol,

including an agreement on search terms and custodians, BF Labs will conduct a reasonable

search for and produce responsive non-privileged documents.



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                       Respectfully submitted,



                       /s/ Michael S. Foster
                       James M. Humphrey                      KS Fed. #70664
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                       Attorneys for Defendant BF Labs Inc.




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                                  CERTIFICATE OF SERVICE

       I hereby certify that on February 20th, 2015, a true and correct copy of the foregoing
pleading was served via electronic mail on the following:

       Noah K. Wood, Esq.
       Ari N. Rodopoulos, Esq.
       Wood Law Firm, LLC
       1100 Main Street, Suite 1800
       Kansas City, MO 64105-5171

       Attorneys for Plaintiffs




                                           /s/ Michael S. Foster
                                          Attorney for Defendant BF Labs Inc.




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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS

KYLE ALEXANDER, et al.,                     )
                                            )
                Plaintiffs,                 )
                                            )
v.                                          ) Case No. 14-CV-2159-KHV-JPO
                                            )
BF LABS INC.,                               )
                                            )
                Defendant.                  )

                                CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on the 20th day of February, 2015, Defendant BF

Labs Inc.’s Responses to Plaintiff’s First Request for Production were served on the following by

electronic mail:

Noah K. Wood, Esq. (noah@woodlaw.com)
Ari N. Rodopoulos, Esq. (ari@woodlaw.com)
Wood Law Firm, LLC
1100 Main Street, Suite 1800
Kansas City, MO 64105-5171

Attorneys for Plaintiff

                                     Respectfully submitted,



                                     /s/ Michael S. Foster
                                     James M. Humphrey                          KS Fed. #70664
                                     Michael S. Foster                              KS #24011
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                               CERTIFICATE OF SERVICE

       I hereby certify that on February 20, 2015, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system which sent notification of such filing to the
following:

Noah K. Wood, Esq.
Ari N. Rodopoulos, Esq.
Wood Law Firm, LLC
1100 Main Street, Suite 1800
Kansas City, MO 64105-5171

Attorneys for Plaintiff


                                    /s/ Michael S. Foster
                                    Attorney for Defendant




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